 Case 8:17-cv-00491-CJC-KES Document 207 Filed 05/09/19 Page 1 of 7 Page ID #:4093




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8                         UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10                               SOUTHERN DIVISION
11
                                                )
12                                              ) Case No.: SACV 17-00491-CJC(KESx)
                                                )
13
     KATHY CRAIG and GARY WITT,                 )
                                                )
14   individually and as successors in interest )
     to BRANDON LEE WITT, deceased,             )
15                                              ) JUDGMENT
                                                )
16                Plaintiffs,                   )
                                                )
17         v.                                   )
                                                )
18                                              )
     COUNTY OF ORANGE, and                      )
19
     NICHOLAS PETROPULOS, an                    )
                                                )
20   individual, and DOES 1–10, inclusive, )
                                                )
21                                              )
                  Defendants.                   )
22                                              )
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 Case 8:17-cv-00491-CJC-KES Document 207 Filed 05/09/19 Page 2 of 7 Page ID #:4094




1          This action came on regularly for trial on April 23, 2019 in Courtroom 7C of the
2    United States District Court, Central District of California, Honorable Cormac J. Carney,
3    presiding. Plaintiffs Kathy Craig and Gary Witt were represented by attorneys Dale K.
4    Galipo and Melanie T. Partow of the Law Offices of Dale K. Galipo and Scott D. Hughes
5    of The Law Offices of Scott Hughes. Defendants County of Orange and Nicholas
6    Petropulos were represented by David Lawrence and Natalie Price of Lawrence Beach
7    Allen & Choi, PC.
8

9          A jury of eight persons was regularly empaneled and sworn. Witnesses were
10   sworn and testified. After hearing the evidence and arguments of counsel, the jury was
11   duly instructed by the Court and the case was submitted to the jury. The jury deliberated
12   and thereafter returned a verdict as follows:
13

14                                            PHASE I
15

16         We, the jury in the above entitled case, find the following verdict on the questions
17   submitted to us:
18

19   QUESTION 1:
20

21         Did Deputy Petropulos use excessive or unreasonable force against Brandon Witt?
22                ____X____ YES             _________ NO
23

24         If you answered “YES,” proceed to Question 2.
25         If you answered “NO,” answer no further questions, proceed to the end, and sign
26   and date the verdict.
27

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 Case 8:17-cv-00491-CJC-KES Document 207 Filed 05/09/19 Page 3 of 7 Page ID #:4095




1    QUESTION 2:
2

3          Did Deputy Petropulos violate Brandon Witt’s rights under California Civil Code
4    § 52.1?
5

6                ____X____ YES            _________ NO
7

8          Proceed to Question 3.
9

10   QUESTION 3:
11

12         Was Brandon Witt also negligent during the incident in question?
13

14                     ____X____ YES             _________ NO
15

16         If you answered “YES,” then answer Question 4.
17         If you answered “NO,” proceed to Question 6.
18

19   QUESTION 4:
20

21         Was Brandon Witt’s negligence a substantial factor in causing his death?
22

23                     ___ X ______ YES          _________ NO
24

25         If you answered “YES,” then answer Question 5.
26         If you answered “NO,” proceed to Question 6.
27

28   ///

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 Case 8:17-cv-00491-CJC-KES Document 207 Filed 05/09/19 Page 4 of 7 Page ID #:4096




1    QUESTION 5:
2

3          What percentage of fault do you assign for negligence?
4

5                Deputy Petropulos               60%
6

7                Brandon Witt                    40%
8                                          Your total must equal 100%.
9

10         Proceed to Question 6.
11

12   QUESTION 6:
13

14         Did Deputy Petropulos act with malice, oppression, or in reckless disregard of
15   Brandon Witt’s rights?
16

17               ____X____ YES             _________ NO
18

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 Case 8:17-cv-00491-CJC-KES Document 207 Filed 05/09/19 Page 5 of 7 Page ID #:4097




1                                             PHASE II
2

3          We, the jury in the above entitled case, find the following verdict on the questions
4    submitted to us:
5

6    QUESTION 1:
7

8          What are Brandon Witt’s survival damages for his loss of life and for his pre-death
9    pain and suffering?
10

11             Brandon Witt:
12               Loss of life:                           $ 1,800,000.00
13

14               Pre-death pain and suffering:           $ 200,000.00
15

16         Proceed to Question 2.
17

18   QUESTION 2:
19

20         What are Plaintiffs’ wrongful death damages for their past and future loss of
21   Brandon Witt’s love, companionship, comfort, care, training, education, protection,
22   affection, society, and moral support?
23

24         A. Kathy Craig
25

26            Past loss:                                 $ 700,000.00
27

28             Future loss:                              $       0.00

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 Case 8:17-cv-00491-CJC-KES Document 207 Filed 05/09/19 Page 6 of 7 Page ID #:4098




1          B. Gary Witt
2

3             Past loss:                                    $ 700,000.00
4

5             Future loss:                                  $       0.00
6

7          Proceed to Question 3.
8

9    QUESTION 3:
10

11         What amount of punitive damages do you award against Deputy Petropulos to
12   punish him and to deter similar acts in the future?
13

14                                    $           0.00
15

16

17

18         IT IS NOW THEREFORE ORDERED, ADJUDGED, AND DECREED that
19   final judgment in this action be entered as follows:
20

21         Total judgment in the sum of $3,400,000.00, plus costs pursuant to Federal Rule of
22   Civil Procedure 54(d)(1), interest at the rate specified by 28 U.S.C. §1961, and
23   reasonable attorneys’ fees as will be determined by the court, is entered against
24   Defendants County of Orange and Nicholas Petropulos in favor of Plaintiffs Kathy Craig
25   and Gary Witt.
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 Case 8:17-cv-00491-CJC-KES Document 207 Filed 05/09/19 Page 7 of 7 Page ID #:4099




1          Plaintiffs Kathy Craig and Gary Witt are the prevailing parties and may apply to
2    the court for an award of costs and reasonable attorneys’ fees as permitted by state and
3    federal law. IT IS SO ORDERED.
4

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6          DATED:       May 9, 2019
7                                                 __________________________________
8                                                        CORMAC J. CARNEY
9                                                 UNITED STATES DISTRICT JUDGE
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